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                                            In re Flint Water Cases
                 United States District Court – Eastern District of Michigan, Southern Division
                           Civil Action No. 5:16-cv-10444-JRL-MKM (consolidated)

                                SUPPLEMENTAL EXPERT REPORT IN SUPPORT OF
                                PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

                                        Section 1: Purpose and Rationale

  I, Robert A. Simons, state that the opinions represented herein are offered in the above referenced case
  to a reasonable degree of scientific probability. Except as specifically identified herein, this supplemental
  expert report incorporates by reference the discussion, analysis, and conclusions presented in my
  previous expert report submitted for this case, prepared under date of June 29, 2020.

  Subsequent to the submission of my previous expert report for this case, I have undertaken a more
  detailed exploration and analysis of the available data related to the possible economic effects of the Flint
  water crisis on businesses located in the city of Flint and particularly upon restaurants, which were not
  specifically addressed in my initial report. Further analysis was warranted in part due to the connection
  predicted by economic theory between water quality and restaurant profitability: because restaurants
  serve water to customers, prepare beverages by combining water with other ingredients, employ water
  in some food preparation processes (e.g., soups, steaming vegetables, etc.), and use water to wash place
  settings and utensils, general economic theory would predict that a deterioration in the quality of the
  city’s public water supply would be likely to lead to a reduction in consumer activity at such businesses,
  due to fear of adverse health effects. It would also be expected that a decrease in consumers’
  discretionary income (resulting, for instance, from the need to purchase bottled water for home use)
  would result in less frequent eating out and/or in a substitution of lower-cost restaurant options (i.e., “fast
  food” and takeout establishments) for more expensive, full-service, “sit-down” restaurants. This
  substitution may also occur over space (i.e., substituting an eating establishment in the City of Flint for
  one nearby, outside City boundaries).

  Given the logical force of the economic theory regarding the link between restaurant operations and
  water quality, there was concern that individual restaurant losses may have been “hidden” by the
  aggregation of data that was employed in our analysis for my previous expert report. For that report, our
  analysis was designed to identify and focus on NAICS subsectors within which, according to the Reference
  USA historical database, the majority of Flint businesses had experienced declines in annual sales volume
  of at least 5% from 2014 to 2018. Particularly within a subsector (such as restaurants) which is subject to
  internal substitution effects, such a “macro-level” analytical approach can mask individual enterprise
  losses within the overall performance of the subsector. It is also possible that Reference USA’s algorithm
  for calculating annual sales volume could obscure individual business losses in a subsector in which part-
  time employment is common.1 Therefore, in preparing this supplemental expert report, we have chosen


  1
   Although Reference USA’s algorithm is proprietary, examination of their database suggests that their projection
  of an enterprise’s annual sales volume is directly related to its number of employees. We have been informed in
  an email communication (David Turner, June 16, 2020) that the Reference USA database reflects total employed
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  to “dig deeper” in an effort to identify the extent, if any, of such “hidden” losses in the restaurant
  subsector.

  Qualifications. In addition to the experience cited in my previous expert report, I have conducted retail
  market analyses, including demand for restaurants, for several community development corporations and
  neighborhood organizations. I have also authored or co-authored the following publications relating to
  and/or involving analysis of restaurant markets:

    • “Site Attributes in Retail Leasing: An Analysis of a Fast Food Restaurant Market,” The Appraisal
      Journal, October 1992, Vol. 60 Issue 4, 521-531; and

    • “Development and Issues of Inner-City Retail Niche Markets” (with John Brennan), peer-reviewed
      chapter in Megatrends in Retail Property, John Benjamin, ed., Boston: Kluwer, 1996 (sponsored by
      the American Real Estate Society and the International Council of Shopping Centers).

  Section 2: Executive Summary

  Preliminary analysis performed for my previous expert report had suggested that, at least at the “macro”
  level, the Flint water crisis appeared to have had a relatively minor impact on the revenue streams of most
  restaurants that were in operation in both 2014 (i.e., prior to the discovery of the water crisis) and 2018
  (the last year for which such data were available to us at the individual enterprise level). Accordingly, that
  previous expert report did not include any calculation of potential damages specific to restaurant
  members of the proposed commercial Plaintiff subclass for this case. That report did, however, note the
  potential for “false negatives” among the database analyzed. Furthermore, due to the apparently limited
  impact of the water crisis on the revenue streams of most “surviving” restaurants, that report never
  reached the point of considering or analyzing the potential impact of the water crisis on Flint restaurants
  which may have ceased operations during that four-year period. My more detailed exploration and
  analysis of the available data, as reported in this supplemental expert report, “fills in” those gaps.

  In carrying out my supplemental analysis, I used data from the Reference USA database to compare the
  experience of restaurants in Flint to those in the remainder of Genesee County for the years from 2014
  through 2018, for both (a) “failed” restaurants (i.e., those which were in operation in 2014 but appear to
  have closed by the end of 2018); and (b) surviving restaurants whose annual sales volume appears to have
  declined from 2014 to 2018. This analysis found:

    • A statistically significant greater percentage of “failed” restaurants in Flint than in the rest of Genesee
      County, corresponding to 57 additional restaurant closings beyond expected levels in Flint, with
      business interruption damages aggregating $15.4 million;

    • Little overall difference between Flint and the rest of Genesee County in the percentage of
      “surviving” businesses whose annual sales volume appears to have declined from 2014 to 2018; and




  individuals rather than full-time equivalents. To the degree that a business adjusted to declining sales by reducing
  employee hours rather than resorting to layoffs, the Reference USA algorithm might thereby overstate annual
  sales volume.



                                                                                                                     2
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      • 9 such “surviving” restaurants in Flint (i.e., “false negatives” from the analysis performed for my
        previous expert report) with aggregate lost profit of $163,000 for the four-year period.

  I also applied the same Flint-vs.-Genesee-County comparisons to Reference USA data for the 26 NAICS
  subsectors analyzed in my previous expert report for this case, over the same 2014-2018 period. This
  comparison revealed:

      • Statistically significant higher failure rates in Flint in the aggregate and for 4 individual subsectors;
      • Higher but not statistically significant failure rates in Flint for 12 subsectors; and
      • Higher but not statistically significant failure rates outside Flint for 8 subsectors.2

  For “surviving” businesses (i.e., those in operation at both the beginning and end of the period from 2014
  through 2018) among these 26 NAICS subsectors, the Flint-vs.-Genesee-County comparison revealed:

      • A statistically significant higher percentage of enterprises with revenue decline in Flint in the
        aggregate and for 2 individual subsectors;
      • Higher but not statistically significant revenue decline percentages in Flint for 13 subsectors; and
      • Higher but not statistically significant revenue decline percentages outside Flint for 3 subsectors.3

  Using a decision tree, we adjusted certain previously-calculated damage projections for the 26 NAICS
  subsectors and the restaurant sector, based upon the combination of economic theory, the Reference
  USA raw data, and our Flint-vs.-Genesee-County comparison. With these adjustments, we find that
  economic damages sustained by Flint commercial enterprises as a result of the Flint water crisis, during
  the period from 2014 through 2018, aggregate at least $99.7 million (i.e., $16.5 million in lost profits,
  $74.1 million in business interruption damages for closed enterprises, and $9.1 million in reserve for
  potential members of the proposed Plaintiff subclass outside these subsectors).

  Section 3: Methodology and Findings

  In order to identify impacts of the water crisis on Flint restaurants that may have been “hidden” from our
  previous analysis, we compared enterprise-level data (i.e., as contained in the Reference USA database)
  for restaurants in Flint to the corresponding data for restaurants in the remainder of Genesee County.
  This comparison enables us to highlight local differences within the same regional economy. This
  comparison technique implicitly assumes that Genesee County enterprises located outside the city of Flint
  can serve, in effect, as a “control group” for evaluating the impact of the Flint water crisis on similar
  enterprises located in Flint.

  In their business database, Reference USA includes a variety of restaurant subtypes (e.g., fast food
  restaurants, pizza restaurants, takeout restaurants, national sit-down chains, casual “family” restaurants,


  2
   For 2 of these 26 NAICS subsectors, the statistical significance of the difference between Flint and other Genesee
  County businesses could not be determined, as the formula used to calculate the corresponding z-statistic
  produced a “0” in the denominator.
  3
   For 8 of these 26 NAICS subsectors, the statistical significance of the difference between Flint and other Genesee
  County businesses could not be determined, as the formula used to calculate the corresponding z-statistic
  produced a “0” in the denominator.



                                                                                                                    3
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  bar-and-grill restaurants, and more “upscale” or “niche” restaurants) in the same 6-digit NAICS code
  category (722511, “Full-Service Restaurants”). To facilitate more meaningful comparison of these
  disparate restaurant subtypes, we disaggregated the database by subtype, using internet searches to
  access descriptions and photos of individual restaurants. For each subtype, we then compared
  restaurants with Flint addresses to those in Genesee County outside Flint, along two measures:

      • The “failure rate” or percentage of restaurants existing in 2014 which do not appear in the Reference
        USA database for 2018 (i.e., assumed to have closed); and

      • The percentage of “surviving” restaurants for which the Reference USA data indicates a decline in
        annual sales volume from 2014 to 2018.

  Restaurant Closures. The results of this analysis provide evidence of a negative impact on restaurant
  performance within the city of Flint, particularly in terms of apparent restaurant closures (failure rate).
  When the effects of small sample sizes are mitigated by regrouping the restaurant subtypes into two
  broader categories (i.e., fast food/pizza/takeout/national chains vs. local sit-down/bar-and-grills/niche),
  we find a statistically significant higher failure rate for Flint restaurants compared to those in the
  remainder of Genesee County. The Reference USA database indicates that 101 restaurants in Flint appear
  to have closed between 2014 and 2018, and that the average age of all Flint restaurants appearing in the
  database for 2014 was 17 years. Data from the Bureau of Labor Statistics for private businesses in
  Michigan which began operations in 1997 indicate that 85.4% of such businesses still in operation in 2014
  remained in operation during 2018. With 299 Flint restaurants included in the Reference USA database
  for 2014, we would thus expect 255 to survive through at least 2018; however, the Reference USA
  database indicates that only 198 of these Flint restaurants remained in operation during 2018, suggesting
  that there were 57 more restaurant closures in Flint during the period from 2014 through 2018 than would
  have been expected based on statewide experience. We attribute these 57 excess restaurant closures to
  the effects of the Flint water crisis. Using the methodology described in my previous expert report for
  this case, the business interruption damages sustained by this excess failure of 57 restaurants in Flint
  approximate $15.4 million.

  Lost Profits of Surviving Restaurants. Our more in-depth analysis of restaurant sales volume data
  confirmed the existence of “false negatives” which were not identified in the analysis performed for my
  previous expert report for this case. Within the Reference USA restaurant data, which suggests that the
  great majority of restaurants in Flint and in Genesee County experienced increases in sales volume from
  2014 to 2018, we found 9 Flint restaurants for which the Reference USA data reflect decreasing sales
  volume over that period. Applying conservative published profit margins of 2.5% for sit-down restaurants
  and 5% for fast food, pizza, and takeout operations,4 I project that these 9 Flint restaurants suffered profit
  losses of $163,000 in the aggregate over the four-year period. I note that the higher-than-expected failure
  rate of restaurants in Flint during the 2014-2018 period would have, in effect, freed up consumer
  discretionary budgets for additional purchases at those restaurants which remained in operation. This


  4
   See, for example, Gabe Flores, “What Is the Average Profit Margin for a Restaurant?”, February 25, 2020 (at
  https://www.restaurant365.com/blog/what-is-the-average-profit-margin-for-a-restaurant/); and Stefon Walters,
  “The Average Profit Margin for a Restaurant,” August 22, 2019 (at https://yourbusiness.azcentral.com/average-
  profit-margin-restaurant-13113.html).



                                                                                                                  4
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  substitutionary effect would have tended to mitigate revenue losses which otherwise might have been
  experienced by those surviving restaurants, rendering the results of the analysis of annual sales volume
  for these restaurants somewhat ambiguous.

  Applying the Flint-vs.-Genesee County Comparison to the Other 26 NAICS Subsectors. Having applied
  this City-County “case-control group” analysis technique to the restaurant subsector, we then applied it
  to the 26 NAICS subsectors analyzed in my previous expert report for this case. As summarized above,
  the results are generally supportive of that report’s conclusion that these Flint businesses had sustained
  negative economic impacts from the Flint water crisis. The comparison reveals that, in the aggregate, the
  Flint enterprises experienced a higher percentage of business failures (i.e., closures) than those in the
  remainder of Genesee County during the four-year period from 2014 through 2018, and that the
  percentage of “surviving” enterprises which suffered a decline in annual sales volume over that period
  was higher in Flint than in the remainder of the county. These differences were statistically significant at
  a confidence level of greater than 95%.

  At the individual 6-digit NAICS subsector level, with a few exceptions,5 due to smaller sample sizes it was
  generally not possible to obtain statistically significant differences between enterprises in Flint and in the
  remainder of Genesee County. As noted above, however, even where the differences do not meet
  commonly-accepted standards for statistical significance, within approximately 60% of these 26 NAICS
  subsectors Flint enterprises show evidence of experiencing negative economic outcomes at a higher rate
  than those in the remainder of the county. This pattern lends support to the process by which we
  identified the 26 NAICS subsectors, as described in my previous expert report.

  The results of this comparison analysis, by individual NAICS subsector and in the aggregate, are presented
  in Table S1.

  Conservative Nature of the Comparison Results. There are reasons to believe that the Flint-vs.-Genesee-
  County comparison technique would produce conservative results. Economies are regional, not local, and
  extend across municipal boundaries. It is reasonable to assume that Flint residents, prior to the water
  crisis, would have spent a certain portion of their disposable income at consumer enterprises located
  outside Flint itself. A reduction in Flint residents’ discretionary income, resulting from the water crisis,
  would therefore be expected to have a spillover effect on consumer-oriented businesses in neighboring
  communities as well, thus undermining to some extent those communities’ ability to serve as a “pure”
  control group for Flint businesses.6 Accordingly, to the extent that consumer-oriented businesses in
  neighboring communities may have also seen their revenues decline due to a reduction in the
  discretionary income available to Flint residents, the relative degree of the negative impact of the water



  5
    Flint enterprises evidenced statistically significant higher failure rates of barber shops (NAICS 812111) and beauty
  salons (NAICS 812112) at the 95% confidence level, and of musical instrument and supplies stores (NAICS 451140)
  and other personal services (NAICS 812990) at the 90% confidence level. Among “surviving” businesses,
  electronics stores (NAICS 443142) and other personal service enterprises (NAICS 812990) experienced statistically
  significant higher frequencies of decline in annual sales volume in Flint, at the 90% confidence level.
  6
   Several Genesee County communities (Mt. Morris, Grand Blanc, Swartz Creek, Flushing, and Davison) are located
  within a few miles of Flint, and one (Burton) is contiguous with most of Flint’s eastern and southern boundary.



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  crisis on Flint businesses would tend to be obscured in the application of this Flint-vs.-Genesee-County
  comparison technique.7

  Application of the Flint/County Comparisons to Damage Calculations. I have used the results of the
  Flint-vs.-Genesee-County “control” comparisons to adjust in a formulaic manner, using a decision tree,
  the damage calculations for the 26 NAICS subsectors as contained in my previous expert report for this
  case, as well as for the restaurant subsector as described above. Because of the economic theory
  undergirding my previous identification and analysis of the 26 NAICS subsectors, the decision tree calls
  for no adjustment in circumstances where we find strong evidence of economic damage to Flint
  businesses in a given subsector (i.e., where the Flint/County comparison shows a greater percentage of
  businesses which “failed” or lost annual sales volume, or where all “surviving” Flint businesses suffered a
  reduction in sales volume from 2014 through 2018). For subsectors without such evidence, I have reduced
  the previously calculated damages by 25% (i.e., an adjustment factor of 0.75).8 Thus, I use the
  Flint/County comparisons to temper, but not overrule, the damages to Flint commercial enterprises
  revealed by my previous sector analysis and the Reference USA database.



  7
    With particular respect to restaurants, the spillover impact of the water crisis on Flint residents’ spending patterns
  is likely to have had two opposite effects on restaurants in the remainder of Genesee County. First, a reduction in
  discretionary income would be expected to cause a reduction in the number and frequency of Flint residents eating
  out, both inside Flint and in neighboring Genesee County communities. Alongside this effect, however, we would
  expect to find a substitution effect in which Flint residents would migrate to restaurants in neighboring communities
  when they choose to eat out, because of their awareness that the water at those restaurants is safer than the water
  at restaurants in Flint. In terms of their expected impact on restaurant operations, these two effects would work in
  opposite directions for restaurants outside Flint (i.e., capturing a higher percentage of a smaller volume of restaurant
  diners), while having an additive effect for restaurants inside Flint (i.e., attracting a smaller percentage of a smaller
  volume of restaurant diners). To the extent that the Reference USA sales volume algorithm may not be sufficiently
  sensitive to detect such changes at the margins, the Flint-vs.-Genesee-County comparisons calculated using the
  Reference USA data will tend to understate the degree to which Genesee County restaurants outperformed their
  Flint counterparts once the water crisis became known to the public.
  8
    As described in the previous subsection, the reduction in Flint residents’ discretionary income resulting from the
  water crisis is likely to have had a spillover effect on the revenues of consumer-oriented businesses in neighboring
  Genesee County communities outside Flint. In light of this confounding effect on some of the Flint-vs.-Genesee-
  County comparison calculations, and given the force of the economic theory and the logic of the data analysis
  underlying the determination of NAICS subsectors in Flint likely to have been affected by this reduction in
  discretionary income (as developed in my previous expert report for this case), it is my evaluation that the previous
  analysis should weigh more heavily than the Flint-vs.-Genesee-County comparison in the calculation of economic
  damages sustained by the proposed commercial Plaintiff subclass in this case. In adjusting such damages for this
  supplemental expert report to take account of the Flint-vs.-Genesee-County comparisons, I have therefore applied
  a 75%/25% weighting in favor of the results of my previous analysis, as developed from data based on the economic
  theory. I note that in academic work, 85% is considered to be the minimum level required to maintain statistical
  significance when evaluating a hypothesis. In applying a 25% discount to the previously determined damages for
  those NAICS subsectors for which the Flint-vs.-Genesee-County comparison hints that Flint businesses may have
  outperformed similar businesses in the remainder of the county, I am therefore taking account of the lack of
  statistical significance in the comparison data for those individual subsectors (which often reflected small sample
  sizes), while acknowledging the overall statistical significance of those comparisons for the 26 NAICS subsectors and
  the restaurant subsector in the aggregate. Further work can be done to refine this reduction at the merits stage.



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  After making these adjustments to the data presented in my previous expert report, and incorporating
  the business interruption damages and lost profits associated with Flint restaurants as described above,
  I find that that members of the proposed commercial Plaintiff subclass for this case have sustained
  economic damages aggregating approximately $99.7 million as a result of the Flint water crisis, through
  the end of calendar year 2018. Of this amount, $16.5 million represents lost profits of enterprises which
  continued in operation throughout the period from 2014 through 2018; $74.1 million represents business
  interruption damages sustained by enterprises which ceased operations during that period; and
  $9.1 million represents an assumed 10% holdback for expected additional commercial Plaintiff claims
  from enterprises not considered within our analyses (i.e., “false negatives”).9 The composition of these
  damages, by each of the 26 NAICS subsectors and the two restaurant groupings, are presented in Table S2.

  Section 5: Data Considerations

  In the course of our analysis of the Reference USA historical database, we became aware that, on occasion,
  the same establishment had been classified under different primary 6-digit NAICS codes in different years.
  Such instances of changing or inconsistent classification create the potential for misinterpreting the status
  of businesses which operated throughout the period from 2014 through 2018 as either having closed after
  2014 (thus being inadvertently treated as a “failed” business) or as having begun their operations after
  the Flint water crisis was known (thus being inappropriately treated as ineligible for membership in the
  proposed commercial Plaintiff subclass). We believe, based on our review, that such instances of
  inconsistent NAICS classification within the Reference USA database are rare and that, in the aggregate,
  they do not significantly affect the results of our analysis. Furthermore, these two types of
  misclassification (i.e., inappropriate business “failures” and inappropriate omissions from the proposed
  Plaintiff subclass) would affect our damage calculations in opposite directions, thus tending to cancel each
  other out in terms of their effect on the overall scope of our damage calculations for the proposed Plaintiff
  subclass as a whole.

  After completing our analysis, we also became aware of a geographic issue with the potential to affect
  the Reference USA database. An unincorporated community known locally as “Beecher” is located
  contiguous to Flint’s northern municipal boundary. This unincorporated community includes parts of
  three postal ZIP Codes, two of which (48504 and 48505) are associated primarily with Flint. (It is possible
  that a similar situation could exist in other nearby communities where the Flint city limits border
  unincorporated portions of neighboring township.10) It is therefore possible that some businesses with
  “Flint” addresses (and thus shown in the Reference USA database with Flint as their city) are actually
  located outside the Flint city limits and would thus receive their water from township sources rather than




  9
   Data analysis for my previous expert report for this case indicated that the proportion of such “false negatives”
  could be as high as 15%. My choice of a 10% net allowance here reflects the possibility that the Reference USA
  database may also lead to the inclusion in our damage calculations of a smaller amount of “false positive” businesses.
  10
    In fact, a similar issue may have contributed to an initial underappreciation of the severity of the lead poisoning
  problem resulting from the Flint water crisis; see https://www.gislounge.com/quirky-geography-zip-codes-
  obscured-flints-lead-problem/.



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  from the Flint water system.11 Such businesses can be identified through mapping on a geographic
  information system (GIS), and so this particular data challenge can be readily addressed, in a consistent
  formulaic manner, during the merits phase of this case. It is believed that, in the aggregate, any businesses
  inappropriately identified in the Reference USA database as being located in Flint would not have a
  significant effect on the scope of the economic damages to members of the proposed Plaintiff subclass,
  as reported in this supplemental expert report, given the anticipated small number of such businesses.

  Section 6: Summary

  To summarize, using the best data currently available to me,12 and to a reasonable degree of scientific
  certainty given the resources available, I evaluated commercial business sectors in Flint, Michigan to
  determine those which may have experienced decreases in sales volume and suffered business
  interruption damages due to the water crisis which began in 2014. For this supplemental expert report,
  I performed a similar evaluation of Flint businesses in the restaurant subsector, and I compared the data
  for all such Flint businesses to those of businesses in the corresponding commercial business sectors in
  the remainder of Genesee County outside the city of Flint.

  I found likely business losses in Flint in 26 six-digit NAICS code subsectors that were vetted by showing
  declines in sales over time greater than Flint’s 3% population decline, and which also showed relative
  declines in total wage trends (a proxy for sales volume) compared to Saginaw and Grand Rapids. I also
  found likely business losses within the restaurant subsector, including both business interruption damages
  for closed restaurants and lost profits for certain restaurants which continue in operation. The most
  reasonable estimate is that there were an aggregate of $247 million in lost sales associated with the Flint
  water problem, with a corresponding $16.5 million in lost profits among the 549 enterprises that were
  present for the entire period from April 2014 through the end of 2018. I also estimate losses related to
  business interruption, including partial lost profit, lost owners’ equity, obligations to repay secured debt,
  and penalties and potential damaged credit of $74.1 million, among the 472 firms that were open in 2014
  but not listed on the Reference USA database in 2018. Allowing a 10% holdback ($9.1 million) for expected
  additional commercial claims from enterprises in subsectors not specifically contemplated in my expert
  reports for this case, the total loss estimates for the proposed commercial Plaintiff subclass in this case
  are $99.7 million. These damage calculations make no provision for the time value of money, and

  11
     Some such businesses made overt efforts to reassure potential patrons that their water did not come from the
  Flint water system; see Exhibit 2 for an example of one such restaurant. However, media reports indicate that such
  efforts may have done little to offset the reduction in business resulting from public perception of the severity of
  the water problem (“Flint water crisis takes toll on city businesses,” January 18, 2016, accessed at
  https://www.fox2detroit.com/news/flint-water-crisis-takes-toll-on-city-businesses; “What It’s Like to Run a
  Business During Flint’s Water Crisis,” January 22, 2016; accessed at https://www.inc.com/will-yakowicz/flint-water-
  crisis-local-business-entrepreneurs.html).
  12
     As of the date of this supplemental expert report, I have not yet been provided with gross receipts data from the
  tax returns of Flint businesses, as requested from the State of Michigan over six months ago. Such data, if provided
  with individual business ID codes, could readily provide identification of all potential members of the proposed
  commercial Plaintiff subclass for this case. Even if provided without individual business identification but with the
  primary 6-digit NAICS code for each business, such data could readily be analyzed in a straightforward, formulaic
  manner to provide a highly reliable calculation of the scope of aggregate business damages, due to the Flint water
  crisis, sustained by members of the proposed commercial Plaintiff subclass in this case.



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  I reserve the right to do so during the merits phase of this case. My analysis assumes that all businesses
  in the Reference USA database with an address identifying “Flint” as the city are, in fact, located within
  the Flint municipal boundaries. My workplan for the merits phase of this case will include formulaic
  analysis to confirm that assumption through address mapping against the GIS database of Flint businesses
  maintained by Plaintiff’s counsel, so as to ensure that our economic damage calculations include only
  businesses with physical locations within the Flint municipal boundaries. I also plan to update our work
  with “new” (2017) economic census data and a fresh set of 2019 data from Reference USA I have
  conducted this work with a reasonable degree of scientific certainty, and I reserve the right to change my
  opinion and to supplement this expert report if new information becomes available.

  Signed, Beachwood Ohio, October 2, 2020


  ___________________
  Robert A. Simons, Ph.D.




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            Table S1: Comparison of Flint Businesses to Those in the Remainder of Genesee County
                                       (6-Digit NAICS Code Subsectors)


                                      2.5                                        FLINT                                                                     GENESEE COUNTY OUTSIDE FLINT                                                 DIFFERENCE OF PROPORTIONS: FAILURE RATE                           DIFFERENCE OF PROPORTIONS: SURVIVORS WHO LOST REVENUE
                                                                          Survivors Percent                        Total Lost                                  Survivors Percent                          Total Lost
                                                                Percent   Who Lost Who Lost   Lost Annual          Revenue,                          Percent  Who Lost Who Lost      Lost Annual          Revenue,
                  Type                      Survivors Closers   Closed    Revenue Revenue       Revenue            2014-2018     Survivors Closers   Closed    Revenue Revenue         Revenue            2014-2018     Z-stat     P1       P2       P      1-P     1/n1   1/n2     Num     Denom    Z-stat     P1      P2       P      1-P     1/n1   1/n2     Num      Denom

26 NAICS Subsectors:
446120 (Cosmetics/Beauty Supplies/Perfume Stores)
                                                19         9      32.1%        19    100.0%   $   32,492,000   $    81,230,000        15        14     48.3%         15     100.0%   $   11,761,000   $    29,402,500     -1.241   0.321    0.483   0.404   0.596   0.036   0.034 -0.161 0.130       #DIV/0!    1.000   1.000   1.000   0.000   0.053   0.067   0.000 0.000
446199 (All Other Health/Personal Care Stores) 9         10       52.6%         9    100.0%   $    5,078,000   $    12,695,000         7         5     41.7%          6      85.7%   $    1,579,000   $     3,947,500      0.595   0.526    0.417   0.484   0.516   0.053   0.083   0.110 0.184         1.171   1.000   0.857   0.938   0.063   0.111   0.143   0.143 0.122
524210 (Insurance Agencies & Brokerages)        90      100       52.6%        80     88.9%   $   13,153,000   $    32,882,500       130       157     54.7%        109      83.8%   $   15,766,000   $    39,415,000     -0.444   0.526    0.547   0.539   0.461   0.005   0.003 -0.021 0.047          1.057   0.889   0.838   0.859   0.141   0.011   0.008   0.050 0.048
524291 (Claims Adjusting)                        4         4      50.0%         3     75.0%   $      249,000   $       622,500         0         2    100.0%          0   #DIV/0!    $            -   $             -     -1.291   0.500    1.000   0.600   0.400   0.125   0.500 -0.500 0.387       #DIV/0!    0.750 #DIV/0!   0.750   0.250   0.250 #DIV/0! #DIV/0! #DIV/0!
524292 (Third-Party Administration–Insurance/Pension
                                                 3    Funds)
                                                           0       0.0%         2     66.7%   $    1,327,000   $     3,317,500         1         0      0.0%          1     100.0%   $      142,000   $       355,000   #DIV/0!    0.000    0.000   0.000   1.000   0.333   1.000   0.000 0.000        -0.667   0.667   1.000   0.750   0.250   0.333   1.000 -0.333 0.500
451120 (Hobby/Toy/Game Stores)                   6         5      45.5%         6    100.0%   $    1,328,000   $     3,320,000        16        12     42.9%         15      93.8%   $      610,000   $     1,525,000      0.147   0.455    0.429   0.436   0.564   0.091   0.036   0.026 0.176         0.627   1.000   0.938   0.955   0.045   0.167   0.063   0.063 0.100
451130 (Sewing/Needlework Stores)                1         1      50.0%         1    100.0%   $    1,229,000   $     3,072,500         8         5     38.5%          6      75.0%   $    1,170,000   $     2,925,000      0.310   0.500    0.385   0.400   0.600   0.500   0.077   0.115 0.372         0.567   1.000   0.750   0.778   0.222   1.000   0.125   0.250 0.441
451140 (Musical Instrument & Supplies Stores) 2            5      71.4%         2    100.0%   $      645,000   $     1,612,500         6         2     25.0%          6     100.0%   $      810,000   $     2,025,000      1.798   0.714    0.250   0.467   0.533   0.143   0.125   0.464 0.258      #DIV/0!    1.000   1.000   1.000   0.000   0.500   0.167   0.000 0.000
451211 (Book Stores)                             9         9      50.0%         9    100.0%   $    2,401,000   $     6,002,500         5         6     54.5%          4      80.0%   $      177,000   $       442,500     -0.238   0.500    0.545   0.517   0.483   0.056   0.091 -0.045 0.191          1.392   1.000   0.800   0.929   0.071   0.111   0.200   0.200 0.144
711110 (Theater Companies & Dinner Theaters) 3             1      25.0%         3    100.0%   $    1,417,000   $     3,542,500         1         0      0.0%          1     100.0%   $      177,000   $       442,500      0.559   0.250    0.000   0.200   0.800   0.250   1.000   0.250 0.447      #DIV/0!    1.000   1.000   1.000   0.000   0.333   1.000   0.000 0.000
711190 (Other Performing Arts Companies)         5         7      58.3%         5    100.0%   $    2,320,000   $     5,800,000         5         5     50.0%          4      80.0%   $      951,000   $     2,377,500      0.391   0.583    0.500   0.545   0.455   0.083   0.100   0.083 0.213         1.054   1.000   0.800   0.900   0.100   0.200   0.200   0.200 0.190
711410 (Agents & Managers)                       1         0       0.0%         1    100.0%   $      293,000   $       732,500         0         0   #DIV/0!          0   #DIV/0!    $            -   $             -   #DIV/0!    0.000 #DIV/0!    0.000   1.000   1.000 #DIV/0! #DIV/0! #DIV/0!    #DIV/0!    1.000 #DIV/0!   1.000   0.000   1.000 #DIV/0! #DIV/0! #DIV/0!
711510 (Independent Artists, Writers, Performers)5       16       76.2%         4     80.0%   $    1,789,000   $     4,472,500        10        15     60.0%         10     100.0%   $    1,151,000   $     2,877,500      1.167   0.762    0.600   0.674   0.326   0.048   0.040   0.162 0.139        -1.464   0.800   1.000   0.933   0.067   0.200   0.100 -0.200 0.137
444120 (Paint & Wallpaper Stores)                3         5      62.5%         3    100.0%   $      833,000   $     2,082,500         5         4     44.4%          4      80.0%   $      951,000   $     2,377,500      0.744   0.625    0.444   0.529   0.471   0.125   0.111   0.181 0.243         0.828   1.000   0.800   0.875   0.125   0.333   0.200   0.200 0.242
444190 (Glass & Auto Glass)                     11         7      38.9%        11    100.0%   $    3,380,000   $     8,450,000        21        16     43.2%         17      81.0%   $    6,198,000   $    15,495,000     -0.307   0.389    0.432   0.418   0.582   0.056   0.027 -0.044 0.142          1.547   1.000   0.810   0.875   0.125   0.091   0.048   0.190 0.123
444210 (Outdoor Power Equipment Stores)          3         2      40.0%         2     66.7%   $    3,425,000   $     8,562,500         7         3     30.0%          6      85.7%   $    1,181,000   $     2,952,500      0.387   0.400    0.300   0.333   0.667   0.200   0.100   0.100 0.258        -0.690   0.667   0.857   0.800   0.200   0.333   0.143 -0.190 0.276
444220 (Nursery, Garden Center, Farm Supply) 6             4      40.0%         6    100.0%   $    3,814,000   $     9,535,000        15        17     53.1%         14      93.3%   $    4,483,000   $    11,207,500     -0.725   0.400    0.531   0.500   0.500   0.100   0.031 -0.131 0.181          0.648   1.000   0.933   0.952   0.048   0.167   0.067   0.067 0.103
812111 (Barber Shops)                           23       19       45.2%        23    100.0%   $    1,333,000   $     3,332,500        32        10     23.8%         30      93.8%   $    1,758,000   $     4,395,000      2.065   0.452    0.238   0.345   0.655   0.024   0.024   0.214 0.104         1.221   1.000   0.938   0.964   0.036   0.043   0.031   0.063 0.051
812112 (Beauty Salons)                          81       74       47.7%        72     88.9%   $    7,778,000   $    19,445,000       125        58     31.7%        105      84.0%   $   15,256,000   $    38,140,000      3.013   0.477    0.317   0.391   0.609   0.006   0.005   0.160 0.053         0.985   0.889   0.840   0.859   0.141   0.012   0.008   0.049 0.050
812113 (Nail Salons)                            14         8      36.4%        14    100.0%   $      645,000   $     1,612,500        17         5     22.7%         17     100.0%   $    1,044,000   $     2,610,000      0.991   0.364    0.227   0.295   0.705   0.045   0.045   0.136 0.138      #DIV/0!    1.000   1.000   1.000   0.000   0.071   0.059   0.000 0.000
812191 (Diet & Weight Reducing Centers)          5         7      58.3%         5    100.0%   $    3,080,000   $     7,700,000         3         6     66.7%          3     100.0%   $      595,000   $     1,487,500     -0.389   0.583    0.667   0.619   0.381   0.083   0.111 -0.083 0.214       #DIV/0!    1.000   1.000   1.000   0.000   0.200   0.333   0.000 0.000
812199 (Other Personal Care Services, Except Tattoo
                                                13 Parlors)
                                                         17       56.7%        12     92.3%   $    1,258,000   $     3,145,000        25        26     51.0%         20      80.0%   $    2,758,000   $     6,895,000      0.495   0.567    0.510   0.531   0.469   0.033   0.020   0.057 0.115         0.987   0.923   0.800   0.842   0.158   0.077   0.040   0.123 0.125
812210 (Funeral Homes/Services)                  9         8      47.1%         7     77.8%   $    2,672,000   $     6,680,000        23        16     41.0%         15      65.2%   $    5,524,000   $    13,810,000      0.419   0.471    0.410   0.429   0.571   0.059   0.026   0.060 0.144         0.689   0.778   0.652   0.688   0.313   0.111   0.043   0.126 0.182
812921/922 (Photofinishing)                      1         0       0.0%         1    100.0%   $    1,294,000   $     3,235,000         4         1     20.0%          4     100.0%   $    1,725,000   $     4,312,500     -0.490   0.000    0.200   0.167   0.833   1.000   0.200 -0.200 0.408       #DIV/0!    1.000   1.000   1.000   0.000   1.000   0.250   0.000 0.000
812990 (All Other Personal Services)             3       13       81.3%         3    100.0%   $      538,000   $     1,345,000         6         6     50.0%          2      33.3%   $       58,000   $       145,000      1.752   0.813    0.500   0.679   0.321   0.063   0.083   0.313 0.178         1.897   1.000   0.333   0.556   0.444   0.333   0.167   0.667 0.351
443142 (Electronics Stores)                     22       40       64.5%        12     54.5%   $    3,807,000   $     9,517,500        24        38     61.3%          7      29.2%   $    1,816,000   $     4,540,000      0.372   0.645    0.613   0.629   0.371   0.016   0.016   0.032 0.087         1.746   0.545   0.292   0.413   0.587   0.045   0.042   0.254 0.145
             Totals: 26 NAICS Subsectors       351      371       51.4%       315     89.7%   $   97,578,000   $   243,945,000       511       429     45.6%        421      82.4%   $   77,641,000   $   194,102,500      2.324   0.514    0.456   0.481   0.519   0.001   0.001   0.057 0.025         3.004   0.897   0.824   0.854   0.146   0.003   0.002   0.074 0.024

Restaurants:
 FF/pizza/takeout subtotal                      113        37     24.7%         5      4.4% $   868,000 $            2,170,000       157        27     14.7%          8       5.1% $      1,540,000 $       3,850,000     2.308 0.247       0.147 0.192 0.808 0.007         0.005   0.100    0.043     -0.254 0.044     0.051 0.048 0.952 0.009         0.006   -0.007    0.026
 Other sit-down subtotal                         85        64     43.0%         4      4.7% $   879,000 $            2,197,500       117        43     26.9%          6       5.1% $      1,167,000 $       2,917,500     2.968 0.430       0.269 0.346 0.654 0.007         0.006   0.161    0.054     -0.137 0.047     0.051 0.050 0.950 0.012         0.009   -0.004    0.031
                     Restaurants total          198       101     33.8%         9      4.5% $ 1,747,000 $            4,367,500       274        70     20.3%         14       5.1% $      2,707,000 $       6,767,500     3.845 0.338       0.203 0.266 0.734 0.003         0.003   0.134    0.035     -0.281 0.045     0.051 0.049 0.951 0.005         0.004   -0.006    0.020

statistically significant at 95%
statistically significant at 90%
consistent w/theory but not significant




                                                                                                                                                                                                                                                                                                                                                                              10
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  ROBERT A. SIMONS LLC                                                                                                                                                   In re Flint Water Cases


                                             Table S2: Summary of Economic Damages to Proposed Subclass,
                                                           by 6-Digit NAICS Code Subsector


                                                                                                           Reduction in    Surviving Firms,                                                               Business
                                                                                 Firms,      Firms,       gross sales, 4     reduction in             Surviving Firms,       Business                 Interruption for
     NAICS                                                                      2014/15    2014-15 But   years, assuming   profit at sector   Adjust.   reduction in     Interruption for   Adjust.     closed firms
   Subsector                            Description                             and 2018    Not 2018       straight line       average        factor profit (adjusted)     closed firms     factor       (adjusted)

    446120     Cosmetics, Beauty Supplies & Perfume Stores                            19            9    $    81,230,000 $       4,244,268     1.00   $      4,244,268 $       1,570,327     0.75     $     1,177,745
    446199     All Other Health & Personal Care Stores                                 9           10    $    12,695,000 $         622,055     1.00   $        622,055 $       1,744,808     1.00     $     1,744,808

    524210     Insurance Agencies & Brokerages                                        90          100    $    32,882,500 $       4,759,742     1.00   $      4,759,742 $      17,448,081     0.75     $    13,086,061
    524291     Claims Adjusting                                                        4            4    $       622,500 $          74,856     0.75   $         56,142 $         697,923     0.75     $       523,442
    524292     Third Party Administration–Insurance/Pension Funds                      3            0    $     3,317,500 $         398,929     0.75   $        299,197 $             -       0.00     $           -

    451120     Hobby, Toy & Game Stores                                                6            5    $     3,320,000   $        66,400     1.00   $        66,400    $       872,404     1.00     $       872,404
    451130     Sewing, Needlework & Piece Goods Stores                                 1            1    $     3,072,500   $        61,450     1.00   $        61,450    $       174,481     1.00     $       174,481
    451140     Musical Instrument & Supplies Stores                                    2            5    $     1,612,500   $        32,250     1.00   $        32,250    $       872,404     1.00     $       872,404
    451211     Book Stores                                                             9            9    $     6,002,500   $         3,001     1.00   $         3,001    $     1,570,327     0.75     $     1,177,745

    711110     Theater Companies & Dinner Theaters                                     3            1    $     3,542,500   $       350,708     1.00   $       350,708    $       174,481     1.00     $       174,481
    711190     Other Performing Arts Companies                                         5            7    $     5,800,000   $       574,200     1.00   $       574,200    $     1,221,366     1.00     $     1,221,366
    711410     Agents & Managers For Public Figures                                    1            0    $       732,500   $        72,518     1.00   $        72,518    $           -       0.00     $           -
    711510     Independent Artists, Writers & Performers                               5           16    $     4,472,500   $       442,778     0.75   $       332,083    $     2,791,693     1.00     $     2,791,693

    444120     Paint & Wallpaper Stores                                                3            5    $     2,082,500   $        76,011     1.00   $        76,011    $       872,404     1.00     $       872,404
    444190     Other Building Material Dealers: Glass/Auto Glass                      11            7    $     8,450,000   $       308,425     1.00   $       308,425    $     1,221,366     0.75     $       916,024
    444210     Outdoor Power Equipment Stores                                          3            2    $     8,562,500   $       312,531     0.75   $       234,398    $       348,962     1.00     $       348,962
    444220     Nursery, Garden Center & Farm Supply Stores                             6            4    $     9,535,000   $       348,028     1.00   $       348,028    $       697,923     0.75     $       523,442

    812111     Barber Shops                                                           23           19    $     3,332,500   $       190,786     1.00   $        190,786   $     3,315,135     1.00     $     3,315,135
    812112     Beauty Salons                                                          81           74    $    19,395,000   $     1,503,113     1.00   $      1,503,113   $    12,911,580     1.00     $    12,911,580
    812113     Nail Salons                                                            14            8    $     1,612,500   $        92,316     1.00   $         92,316   $     1,395,846     1.00     $     1,395,846
    812191     Diet & Weight Reducing Centers                                          5            7    $     7,700,000   $       619,850     1.00   $        619,850   $     1,221,366     0.75     $       916,024
    812199     Other Personal Care Services [except Tattoo Parlors]                   13           17    $     3,145,000   $       253,173     1.00   $        253,173   $     2,966,174     1.00     $     2,966,174
    812210     Funeral Homes & Funeral Services                                        9            8    $     6,680,000   $       537,740     1.00   $        537,740   $     1,395,846     1.00     $     1,395,846
    812921     Photofinishing Laboratories (Except One-Hour)                           1            0    $     3,235,000   $       260,418     1.00   $        260,418   $           -       0.75     $           -
    812990     All Other Personal Services                                             3           13    $       900,000   $        72,450     1.00   $         72,450   $     2,268,251     1.00     $     2,268,251

    443142     Electronic Stores                                                      22           40    $     9,517,500 $         449,702     1.00   $       449,702 $        6,979,232     1.00     $     6,979,232

                                                      Subtotal, 26 Subsectors        351          371    $   243,450,000 $      16,727,694            $    16,420,420 $       64,732,380              $    58,625,552

    722511     Full-Service Restaurants (fast food, pizza, takeout)                  113           37    $     2,170,000 $         108,500     0.75   $        81,375 $        5,655,603     1.00     $     5,655,603
    722511     Full-Service Restaurants (other sit-down, niche)                       85           64    $     2,197,500 $          54,938     0.75   $        41,203 $        9,782,664     1.00     $     9,782,664
                                                                        Total        549          472    $   247,817,500 $      16,891,131            $    16,542,998 $       80,170,646              $    74,063,818

                                                                      TOTAL                                                                                                                           $    90,606,816
                                                                    Reserve                                                                                                                           $     9,060,682
                                                      TOTAL BUSINESS LOSSES                                                                                                                           $    99,667,498




                                                                                                                                                                                                                 11
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  ROBERT A. SIMONS LLC                                                                  In re Flint Water Cases


                                            Exhibit 1:
                            ADDITIONAL DOCUMENTS REVIEWED FOR THIS CASE


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  December 28, 2018; accessed at https://www.mlive.com/news/flint/2018/12/angelos-coney-island-
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  Dempsey, Caitlin (2017). “How the ‘Quirky Geography’ of ZIP Codes Obscured Flint’s Lead Problem,” GIS
  Lounge, April 24, 2017; accessed at https://www.gislounge.com/quirky-geography-zip-codes-obscured-
  flints-lead-problem/

  “Flint water crisis takes toll on city businesses,” Fox 2 Detroit, January 18, 2016; accessed at
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  Flores, Gabe (2020). “What Is the Average Profit Margin for a Restaurant?”, Restaurant 365,
  February 25, 2020; accessed at https://www.restaurant365.com/blog/what-is-the-average-profit-
  margin-for-a-restaurant/

  Glen, Stephanie (no date). “Z Test: Definition & Two Proportion Z-Test,” from StatisticsHowTo:
  Statistics for the rest of us!; accessed at https://www.statisticshowto.com/z-test/

  Reference USA. Database (Excel format) of businesses located in the county of Genesee, Michigan in
  2014, 2015, 2016, 2017, and 2018, for which the “Primary NAICS Code” field contained a six-digit NAICS
  code listed under one of the following three-digit NAICS subsectors: 443, 444, 446, 451, 524, 711, 722,
  812; downloaded through public access via Cleveland Public Library.

  Simons, Robert A. (1992). “Site Attributes in Retail Leasing: An Analysis of a Fast Food Restaurant
  Market,” The Appraisal Journal, October 1992, Vol. 60 Issue 4, 521-531.

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  Markets,”, peer-reviewed chapter in Megatrends in Retail Property, John Benjamin, ed., Boston: Kluwer,
  1996 (sponsored by the American Real Estate Society and the International Council of Shopping Centers.

  Turner, David. Email communications dated June 16 and 17, 2020, responding to certain questions
  regarding Infogroup’s data-gathering process for its Reference USA database.

  Walters, Stefon (2019). “The Average Profit Margin for a Restaurant,” azcentral, part of the USA Today
  network, August 22, 2019; accessed at https://yourbusiness.azcentral.com/average-profit-margin-
  restaurant-13113.html

  Yakowicz, Will (2016). “What It’s Like to Run a Business During Flint’s Water Crisis,” Inc., January 22,
  2016; accessed at https://www.inc.com/will-yakowicz/flint-water-crisis-local-business-
  entrepreneurs.html




                                                                                                             12
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  ROBERT A. SIMONS LLC                                                   In re Flint Water Cases


                                              Exhibit 2:
                         EXAMPLES OF RESTAURANT EFFORTS TO REASSURE PATRONS




                                                                                             13
